     Case 4:07-cv-05944-JST Document 3213-1 Filed 12/18/14 Page 1 of 1




1
                                   UNITED STATES DISTRICT COURT
2
                                NORTHERN DISTRICT OF CALIFORNIA
3
                                         SAN FRANCISCO DIVISION
4
     IN RE: CATHODE RAY TUBE (CRT)                           Case No. 3:07-cv-5944 SC
5    ANTITRUST LITIGATION                                    MDL No. 1917
6
7    This document relates to:                                [PROPOSED] ORDER OF DISMISSAL
                                                              WITHOUT PREJUDICE
8    Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,
     No. 11-cv-05513
9
10

11
             The Court, having considered the stipulation of the parties, and good cause appearing,
12
     orders as follows:
13
             1.      The claims filed by Plaintiffs Best Buy Co., Inc.; Best Buy Purchasing LLC; Best
14
15   Buy Enterprise Services, Inc.; Best Buy Stores, L.P.; Bestbuy.com, L.L.C.; and Magnolia Hi-Fi,

16   LLC (collectively, “Best Buy”) against Beijing Matsushita Color CRT Co., Ltd. (“BMCC”) in

17   the above-captioned action are dismissed, without prejudice, pursuant to Rule 41(a) of the
18
     Federal Rules of Civil Procedure; and
19
             2.      BMCC’s Motions for Summary Judgment [MDL Dkt. 2987, 2990] are withdrawn
20
     as to Best Buy.
21
             3.      Each party shall bear its own costs and attorneys’ fees.
22

23           IT IS SO ORDERED.

24
25
     Dated:__________________________                       ___________________________________
26                                                          The Honorable Samuel Conti
                                                            United States District Judge
27
28
     [PROPOSED] ORDER OF DISMISSAL WITHOUT PREJUDICE
     (Case No. 3:07-cv-05944)
                                                                                                      1
